        Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 1 of 7




                                                                                          Thomas C. Jensen
October 28, 2021
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VIA ECF

U.S. District Court Judge William Conley
Western District of Wisconsin
120 North Henry Street
Madison, WI 53703

Re:      Case Nos. 21-cv-00096-wmc & 21-cv-00306-wmc (consolidated)
         Nat'l Wildlife Refuge Ass'n, et al. v. Rural Utilities Service, et al.
         Construction Activities in Wisconsin in Next 30 Days

Dear Judge Conley:

Pursuant to the hearing held on Plaintiffs’ motion for a preliminary injunction 1 last Friday in the
above-captioned matter and the status report that the Co-owners submitted shortly thereafter, 2 I
am writing to update the Court regarding the construction of the Cardinal-Hickory Creek 345 kV
Transmission Line Project (“Project”) in Wisconsin and provide requested information regarding
the Co-owners’ damages from a 30- to 60-day delay in Project construction. 3 As discussed at the
hearing last Friday, construction in Iowa has been underway for over six months and will continue,
except for construction within the Refuge, which will not begin before October 2022.

In their October 22, 2021 status report, the Co-owners committed not to conduct any Project-
related construction activities that are subject to the U.S. Army Corps of Engineers (“Corps”)
Utility Regional General Permit (“URGP”) verifications prior to November 1, 2021. In a showing
of cooperation and good faith, the Co-owners hereby extend that commitment for four full weeks
while the Court considers the pending motions for summary judgment. Specifically, prior to
November 29, the Co-owners will not conduct any construction work within jurisdictional waters
(which include wetlands), subject to the URGP verifications that the Corps issued for the Project
in Wisconsin.

The rest of this letter and the declarations being filed concurrently herewith provide: an explanation
of how the Co-owners intend to perform construction work on the Project starting in November;
the impact to the Co-owners of avoiding construction work in jurisdictional waters during that

1
    See ECF No.
             97.
2
  See ECF No. 149.
3
  The Co-owners include American Transmission Company LLC and ATC Management Inc.
(“ATC”), ITC Midwest LLC (“ITC”), and Dairyland Power Cooperative.
       Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 2 of 7




The Hon. William Conley
October 28, 2021
Page 2


timeframe; and the additional Project costs and damages the Co-owners would incur if this Court
enjoined all construction in Wisconsin for 30 to 60 days. To explain how the URGP verifications
fit into the Co-owners’ construction plans, I am first providing the Court with some regulatory
background regarding the URGP and Project-related verifications.

Background on the URGP

The Co-owners and the Federal Defendants provided substantive and regulatory background
regarding the URGP verifications for the Project in briefing accompanying their motions for
summary judgment. 4 To summarize, the Clean Water Act (“CWA”) prohibits “the discharge of
dredged or fill material” into “navigable waters” without a permit from the Corps. 5 The CWA
defines “navigable waters” as “Waters of the United States,” 6 which the Corps has in turn defined
as “jurisdictional waters,” including certain wetlands. 7 The Corps has also specifically defined
what constitutes the discharge of dredged or fill material (i.e., “regulated activities”) into
jurisdictional waters. 8

The Corps may issue “general permits” for categories of activities that are substantially similar
and involve discharges of dredged or fill material into jurisdictional waters if (among other things)
the activities will cause minimal adverse environmental effects. 9 In this case, the relevant general
permit authorizing regulated activities in jurisdictional waters is the Corps’ St. Paul District URGP,
under which the Corps issued the Project-specific verifications.

The URGP covers (among other things) regulated activities associated with the construction of
utility lines, substation facilities, and permanent and temporary access roads for those lines and
facilities. 10 The URGP requires permittees to seek coverage thereunder by submitting a pre-
construction notification (“PCN”) for certain regulated activities, including “[a]ll single and
complete projects where the temporary impacts are proposed to impact 0.5 acre or greater of waters
of the US, including wetlands.” 11 The Corps responds with a written verification to confirm
whether the regulated activities are covered by the URGP. 12


4
  See ECF No. 89 at 54–58; ECF No. 93 at 26–39.
5
  See 33 U.S.C. §§ 1311(a), 1344(a).
6
  33 U.S.C. § 1362(7).
7
  33 C.F.R. § 328.3(a), (c)(1).
8
  See 33 C.F.R. § 323.2(c)–(f).
9
  33 U.S.C. § 1344(e)(1); 33 C.F.R. § 330.1.
10
   See USACE009045–46.
11
   See UASCE009007, USACE009049.
12
   See USACE009048; see also 33 C.F.R. §§ 330.1(e)(1), 330.6(a) (permittees may be required to
request confirmation that an activity complies with a general permit).
      Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 3 of 7




The Hon. William Conley
October 28, 2021
Page 3


In September 2019, ATC and ITC submitted PCNs to the Corps’ St. Paul District for coverage
under the URGP for Project-related regulated activities in Wisconsin. 13 Based on field surveys
conducted in June 2017, the PCNs included wetland delineation data that specifically identified
the location and extent of jurisdictional wetlands along the Project route in Wisconsin. 14 In
December 2019, the Corps issued two verifications confirming that Project-related regulated
activities in Wisconsin are authorized under the URGP. 15 The Co-owners conducted additional
delineations in 2020 to confirm wetland boundaries in areas that were previously inaccessible for
field survey and where site conditions have changed. Due to altered landscape conditions,
primarily previously farmed areas that now exhibit wetland characteristics, there were small
changes to some of the delineated wetland boundaries. To address these changes, ATC submitted
an addendum (re-verification) request to the Corps in March 2021 for a slight increase in temporary
and permanent wetland impacts. For ITC, the updated delineations resulted in decreased wetland
impacts, and ITC notified the Corps accordingly in July 2021.

The regulated activities authorized under the 2019 verifications and 2021 addendum request will
result in only 0.022 acres of permanent impacts and up to 15.54 acres of temporary impacts to
wetlands subject to the Corps’ jurisdiction. 16 The permanent impacts are associated with the
construction of foundations for ten new transmission structures. The temporary impacts are
associated with use of timber matting to provide construction vehicles with safe access to the
construction area and minimize impacts to soil and vegetation. 17 The Corps does not regulate—
and thus, permits/verifications are not required for—the mowing or removal of vegetation above
the ground “where the activity neither substantially disturbs the root system nor involves
mechanized pushing, dragging or other similar activities that redeposit excavated soil material.”18


13
   See USACE004819 (ATC notice for regulated activities for that portion of the Project between
the Hill Valley and Cardinal Substations); USACE004219 (ITC notice for regulated activities for
that portion of the Project between the Hill Valley Substation and the Mississippi River).
14
   See USACE004229 (describing wetland delineation for Mississippi River–Hill Valley
segment); USACE004829 (describing wetland delineation for Hill Valley-Cardinal segment).
15
   The verifications and associated memoranda describing the regulated activities to be conducted
in jurisdictional waters for the Project are available at USACE000679–85, USACE000686–91,
USACE000693–758, USACE000759–000809.
16
   The 2019 verification letters authorized 0.02 acres in permanent impacts and 13.6 acres in
temporary impacts. See id. ATC’s March 2021 addendum seeks coverage for an additional 0.002
acres of permanent impacts and an additional 1.94 acres of temporary impacts. See Oct. 28, 2021
Decl. of Amy Lee (“Lee Decl.”) ¶ 12. ITC’s July 2021 notice to the Corps identified no additional
permanent impacts and a 4.2-acre reduction in temporary impacts. See Oct. 28, 2021 Decl. of Mark
Rothfork (“Rothfork Decl.”) ¶ 3.
17
   See USACE000679–80, USACE000686–87.
18
   See 33 C.F.R. § 323.2(d)(2).
      Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 4 of 7




The Hon. William Conley
October 28, 2021
Page 4


Given the foregoing, the Project will have a de minimis impact on jurisdictional wetlands. The
total length of the Project in Wisconsin is approximately 87 miles—more than 95 percent of which
follows existing utility, transportation, or railroad rights-of-way (“ROW”). The Project ROW will
be generally 150 feet wide. 19 This means that the Project’s permanent and temporary impacts to
jurisdictional wetlands (15.562 acres, all told in Wisconsin) constitute less than one-tenth of one
percent (0.1) of the total Project ROW in Wisconsin.

Project-Related Construction Activities Within the Next 30 Days

Until November 29, 2021, the Co-owners will confine construction activities to utility-owned
substation properties and the portion of the Project known as Segment E-3, which begins at the
Cardinal Substation, located in Middleton, and runs southwest to Mount Horeb. 20 There are
approximately 242 acres of land within the Project ROW along this segment. Approximately 40
percent of the land cover is classified as agricultural, 32 percent is woodland, 17 percent is
grassland, and four percent is wetland, with the balanced classified as developed land. There are
approximately 15 jurisdictional wetland complexes along Segment E-3, which cover
approximately 10.4 acres of land in the ROW. The Project-specific verifications authorize
temporary impacts (timber matting) on approximately 6.2 acres of those wetlands and permanent
impacts (transmission structures) on approximately 0.012 acres of those wetlands. 21

Until November 29, 2021, the Co-owners will not conduct any construction activities in
jurisdictional wetlands. This means that the Co-owners will not place any permanent or temporary
fill (including timber matting) or engage in any vegetation clearing in the wetlands subject to the
Corps’ jurisdiction along Segment E-3 or at substation properties. 22 Normally, crews would work
in a linear fashion along the Project ROW. But now, when crews arrive at a portion of the Project
ROW where a jurisdictional wetland is present, they will avoid and postpone any construction
work within that wetland, including moving equipment and crews back in the direction from which



19
   See Lee Decl. ¶ 3.
20
   See Oct. 28, 2021 Declaration of Sarah Justus (“Justus Decl.”) ¶ 14 Ex. A (depicting Segment
E-3). ATC plans to work within utility-owned property at the Nelson Dewey and Hill Valley
Substations. Id.
21
   The December 2019 verification that the Corps issued authorized approximately 4.5 acres of
temporary impacts and 0.01 acres of permanent impacts in the wetlands along Segment E-3. The
March 2021 addendum seeks a coverage for an additional 1.7 acres of temporary impacts and
0.002 acres of permanent impacts in those wetlands. Lee Decl. ¶¶ 10, 12.
22
   As a practical matter, permanent fill would not occur earlier than February 2022, when the Co-
owners plan to mobilize crews for foundation work on the transmission structures. (See ECF No.
129, ¶ 22; ECF No. 132, ¶ 15).
         Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 5 of 7




The Hon. William Conley
October 28, 2021
Page 5


they came, loading them for transport, and then driving to the next ROW access point that does
not cross a wetland area. 23

This disruption in the construction sequence will come with additional costs. For instance, along
Segment E-3, the Co-owners estimate crews will need to de-mobilize and re-mobilize around
approximately 10 of the 15 wetlands within the next four weeks. These efforts will increase total
construction costs by approximately $140,000. Additional details regarding this de- and re-
mobilization process are included in the declaration of Sarah Justus being submitted to the Court
concurrently with this letter.

Moreover, this type of avoidance will only be feasible for a limited time before it materially slows
progress on Project construction, leading to more significant costs due to suspension of
construction work. Accordingly, after the 30-day period has expired (i.e., after November 29),
crews will “re-mobilize” to the previously avoided areas to complete the previously scheduled
work.

To be clear, the fact that the Co-owners are avoiding any construction activities in jurisdictional
wetlands should not be construed as a concession that the Corps regulates any and all activities in
those wetlands. As noted previously, the Corps only regulates the “discharge of dredged or fill
material” into those wetlands. The Corps does not regulate—and thus, the Co-owners do not need
Corps’ authorization for—above-ground vegetation clearing activities in jurisdictional wetlands
“where the activity neither substantially disturbs the root system nor involves mechanized pushing,
dragging or other similar activities that redeposit excavated soil material.” 24 Nonetheless, the Co-
owners are voluntarily agreeing to avoid any construction work in these wetlands (including
unregulated vegetation clearing) as a showing of good faith and cooperation to the Court and other
parties.

The Cost of a 30 or 60-Day Injunction

At the Court’s request, the Co-owners are also providing an estimate of the increased construction
costs and damages they would incur if the Court were to issue an injunction halting all construction
on the Project in Wisconsin for the next 30 or 60 days. A 30-day injunction would increase
construction costs by approximately $3.1 million and a 60-day injunction would increase
construction costs by approximately $12.72 million. These increased costs would be passed onto
the Co-owners’ transmissions customers and, consequently, to their retail electric ratepayers.
Additional details regarding these increased costs are set forth in the declarations of Sarah Justus
and Shawn Mathis, which are being submitted to the Court concurrently with this letter.


23
     See Justus Decl. ¶¶ 16–19 & Ex. C.
24
     See 33 C.F.R. § 323.2(d)(2).
       Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 6 of 7




The Hon. William Conley
October 28, 2021
Page 6


In addition to these increased construction costs, ATC would also suffer damages in the form of
lost revenue and added financing costs for money it has spent to date on the Project, as well as for
money it spends on the Project while the injunction is in place. ATC estimates that these financial
losses would amount to $253,000 for a 30-day injunction and $536,000 for a 60-day injunction.
Additional details regarding ATC’s damages are set forth in the declaration of Michael
Degenhardt, which is being submitted to the Court concurrently with this letter.

Sincerely,




Thomas C. Jensen
Attorney for Intervenor-Defendants American Transmission Company LLC by its corporate
manager, ATC Management Inc., ITC Midwest LLC and Dairyland Power Cooperative

cc:    All counsel of record (via ECF)
         Case: 3:21-cv-00306-wmc Document #: 126 Filed: 10/28/21 Page 7 of 7



                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2021, I electronically filed the foregoing document

with the Clerk of Court using the Court’s ECF system, which will serve the document on all

counsel of record registered for electronic filing in the above-captioned proceeding.



Dated: October 28, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
